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  HB Productions, Inc.

                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   HB Productions, Inc.,                     )   Case No.: 1:19-cv-487 JMS-KJM
                                             )   (Copyright)
                      Plaintiff,             )
       vs.                                   )   PLAINTIFF’S SCHEDULING
                                             )   CONFERENCE STATEMENT;
   Muhammad Faizan, et al.                   )   CERTIFICATE OF SERVICE
                                             )
                      Defendants.            )   DATE: 11/4/2019
                                             )   TIME: 9:30 A.M.
                                             )   JUDGE: MAGISTRATE JUDGE
                                             )   KENNETH J. MANSFIELD
                                             )

             PLAINTIFF’S SCHEDULING CONFERENCE STATEMENT

            Comes now Plaintiff, above-named, and hereby submits its scheduling

  conference statement pursuant to Rule 16.2 of the Local Rules of Practice for the

  United States District Court for the District of Hawaii.



  I.        NATURE OF THE CASE


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                Plaintiff HB Productions, Inc. (“Plaintiff”) alleges that Defendant

          Muhammad Faizan (“Faizan”) directly infringed, intentionally induced and

          contributed to copyright infringement of Plaintiff’s Copyright protected motion

          picture Hellboy (“Work”) in violation of the United States Copyright Act, 17

          U.S.C. 101 §§ et. seq and made false and misleading statements in advertisements

          regarding the torrent files he distributes in interstate commerce in violation of the

          Lanham Act §43(a), 15 U.S.C. §1125(a). See Complaint [Doc. #1] at ¶¶104-146.

                Plaintiff alleges that Defendant JOHN DOE dba ibit.uno (“John Doe”) also

          intentionally induced and contributed to copyright infringement of Plaintiff’s Work

          in violation of the United States Copyright Act, 17 U.S.C. 101 §§ et. seq. See Id.

          at ¶¶104-122 and 130-137.

                Finally, Plaintiff alleges that Defendants Doe 1-35 directly infringed and

          contributed to copyright infringement of Plaintiff’s Work in violation of the United

          States Copyright Act, 17 U.S.C. 101 §§ et. seq. See Id. at ¶¶123-137.

                Defendant Faizan copied Plaintiff’s Work by a process referred to as

          “ripping”, created torrent files of the Work and seeded the torrent files on the

          BitTorrent network. See Id. at ¶¶32, 79. Defendant Faizan promoted the torrent

          files on his website Mkvcage.com where he profited by advertisements and

          solicitations for donations. See Id. at ¶¶79, 101. Plaintiff has discovered that

          Defendant Faizan also promoted his torrent files on his Facebook page and in


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          various forums on the website reddit.com. Defendant Faizan took down his

          website Mkvcage.com upon being notified of the present litigation. He further

          deleted the email address “mkvcage@gmail.com” that he used when registering

          mkvcage.com and various other domains with the domain register Namecheap and

          to communicate with Plaintiff’s counsel. See pg. 3 of Exhibit “4” [Doc. #1-4] to

          the Complaint. Nonetheless, Defendant Faizan has since begun operating a new

          website “mkvcage.nl” where he promotes and distributes torrent files of motion

          pictures such as Hitman’s Bodyguard (see

          https://www.mkvcage.nl/?s=hitman%27s+bodyguard) and Mechanic: Resurrection (see

          https://www.mkvcage.nl/?s=mechanic+resurrection) that are owned by Plaintiff’s parent

          company Millennium Funding, Inc. or affiliates thereof with the same misleading

          language in violation of the Lanham Act §43(a), 15 U.S.C. §1125(a). Plaintiff has

          further discovered that Muhammad Faizan’s employer “HMA Mobiles &

          Computers” provides a service of downloading and installing HD movies to the

          devices of individuals.

                 Defendant JOHN DOE distributes various torrent files (including those of

          Defendant Faizan) from the website ibit.uno and the mirror website ibit.to. The

          websites ibit.uno and ibit.to are hosted at IP addresses of the US company

          CloudFlare. Defendant JOHN DOE removed Faizan’s torrent file associated with

          Plaintiff’s Work upon notification of this litigation by Plaintiff’s counsel, but


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          continues to include other torrent files associated with the Work despite

          notification.

                Defendants Does 1-35 installed a BitTorrent Client on their devices and used

          the BitTorrent client to execute the torrent files of Defendant Faizan and thereby

          download a complete version of Plaintiff’s Work. Id. at ¶¶46-47.

                Defendant Faizan was personally served on Oct. 4, 2019 [Doc. #14].

          Plaintiff’s counsel has contacted Defendant Faizan at the email addresses he used

          for his Namecheap and Cloudflare accounts to schedule the Rule 26(f) conference

          but has not received a reply as of the date of this document. Similarly, Plaintiff’s

          counsel contacted Defendant JOHN DOE at the email addresses he/she used for

          his/her Cloudflare accounts and an email address JOHN DOE used to

          communication with Plaintiff’s counsel to schedule the Rule 26(f) conference but

          has not received a reply as of the date of this document.

                On September 9, 2019, Plaintiff filed a motion requesting leave to issue third

          party subpoenas to Spectrum and Hawaiian Telcom prior to the Rule 26(f)

          conference so Plaintiff can serve Defendants Does 1-35 with a summons for this

          lawsuit. See PLAINTIFF’S EX PARTE MOTION FOR LEAVE TO SERVE

          THIRD PARTY SUBPOENAS PRIOR TO A RULE 26(F) CONFERENCE

          (“Motion”) [Doc. #6]. This Motion was granted on September 25, 2019 [Doc.




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          #10]. Plaintiff served third party subpoenas on Spectrum and Hawaiian Telcom on

          September 25 and September 27, respectively.

          II.   JURISDICTION AND VENUE

                Plaintiff does not anticipate that there will be any meritorious disputes

          regarding jurisdiction or venue. This Court has subject matter jurisdiction over this

          action pursuant to 17 U.S.C. §§ 101, et. seq., (the Copyright Act), 28 U.S.C. §

          1331 (federal question), and 28 U.S.C. § 1338 (patents, copyrights, trademarks,

          and unfair competition). Furthermore, Defendants either reside in, solicit, transact,

          or is doing business within this jurisdiction, and has committed unlawful and

          tortious acts both within and outside this jurisdiction with the full knowledge that

          their acts would cause injury in this jurisdiction. As such, Defendants have

          sufficient contacts with this judicial district to permit the Court’s exercise of

          personal jurisdiction over each.

                Defendant Faizan transacted business within Hawaii and committed tortious

          acts (inducement and contributory copyright infringements of Plaintiff’s motion

          pictures) within Hawaii as defined by HRS § 634-35(a)(1) and (2). Particularly,

          Defendant Faizan facilitated direct contacts with Hawaii for his commercial gain

          by exchanging torrent files with users in Hawaii such as Defendants Does 1-35.

          Alternatively, personal jurisdiction is appropriate over Defendants Faizan and

          JOHN DOE per the federal long arm statute because each purposely avails the


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          benefits of US law, directed electronic activity into the United States and targeted

          and attracted a substantial number of users in the United States. See Complaint

          [Doc. #1] at ¶¶13-32.

                 Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) - (c)

          because: (a) all or a substantial part of the events or omissions giving rise to the

          claims occurred in this District.

          III.   DEMAND FOR JURY TRIAL

                 Plaintiff demanded a jury trial in the Complaint. Id. at pg. 41.

          IV.    INITIAL DISCLOSURES

                 Plaintiff will submit its initial disclosures in accordance with the rules after the

          Rule 26(f) conference with each Defendant respectfully.

          V.     DISCOVERY AND MOTIONS

                 There is no pending discovery. Plaintiff has not yet, but may in the future, file

          dispositive motions.

          VI.    SPECIAL PROCEDURES

                 Plaintiff requests that this scheduling conference be continued until after one

          or more of Defendants Does 1-35 answers the Complaint which will likely be no

          earlier than December 2019.

          VII. RELATED CASES

                 This case deals with legal issues that are similar to those in case 1:19-cv-389


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          ACK-KJM (same Plaintiff but a different Defendant distributing torrent files of

          Plaintiff’s Work).

          VIII. ADDITIONAL MATTERS

                None.

                DATED: Kailua-Kona, Hawaii, October 15, 2019.


                                        CULPEPPER IP, LLLC


                                        /s/ Kerry S. Culpepper
                                        Kerry S. Culpepper

                                        Attorney for Plaintiff
                                        HB Productions, Inc.




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